                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


                                            )
FRANCIS X. DELUCA,                          )
                                            )
                                            )
                        Plaintiff,          )
                                            )
v.                                          )
                                            )
 NORTH CAROLINA STATE BOARD OF )
 ELECTIONS; KIM WESTBROOK                   )
                                            )
 STRACH, in her official capacity as        )       NO. 5:16-CV-913
 Executive Director of the State Board; and )
 A. GRANT WHITNEY, RHONDA K.                )
 AMOROSO, JOSHUA D. MALCOLM,                )
 JAMES BAKER, and MAJA KRICKER,             )
                                            )
 in their official capacities as members of )
 the State Board of Elections,              )
                                            )
                        Defendants.         )
                                            )
                                            )

                       MOTION TO INTERVENE AS A DEFENDANT

       Pursuant to Federal Rule of Civil Procedure 24, proposed Defendant-Intervenor, the

North Carolina State Conference of the National Association for the Advancement of Colored

People (“NC NAACP”), respectfully submits this Motion to Intervene as a Defendant in this

action as of right or, in the alternative, with permission of the Court. A proposed order is

attached to this Motion as Exhibit 1.

       As set forth in the accompanying Memorandum in Support of Motion to Intervene as a

Defendant, NC NAACP seeks to dismiss Plaintiff’s Complaint and to oppose any requested

court-ordered injunction relating to North Carolina’s same-day registration processes. For the

reasons stated in the Memorandum, intervention by the NC NAACP is proper because the relief sought

by plaintiff will irreparably harm NC NAACP members and voters the organization’s members assist. NC




           Case 5:16-cv-00913-D Document 21 Filed 11/29/16 Page 1 of 5
NAACP believes that a significant number of same-day registrants are African-American, and that they will

make up a substantial proportion of those voters whose correspondence from county boards of election will

have been returned as non-deliverable.

        Moreover, the relief sought by Plaintiff will also directly harm the NC NAACP as an organization

because it seeks to undermine the rulings of the Fourth Circuit in North Carolina State Conference of

NAACP v. McCrory, 831 F.3d 204, 237 (4th Cir. 2016) (reinstating North Carolina’s same-day

registration based on the Voting Rights Act and on equal protection grounds) and the District

Court’s decision in North Carolina State Conference of the NAACP v. The North Carolina State

Board of Elections, __ F. Supp. 3d __, 2016 WL 6581284 (M.D.N.C. Nov. 4, 2016). The NC

NAACP was a plaintiff in each of these actions and should have an opportunity to be heard in a

proceeding that could impact the effect of those decisions. The NC NAACP has spent valuable

time and resources pursuing the relief obtained in those proceedings and is harmed when parties

continue to relitigate issues raised and already decided in those cases.

        Further, the interests of the NC NAACP will not be protected by the current Defendants.

The State Board of Elections and its members were defendants in both cases because of their

unwillingness to protect the rights of NC NAACP’s membership and the rights of the voters that

the organization’s members assist. The State Board of Elections’ interests in the litigation are

not synonymous with those of the NC NAACP, and the NC NAACP cannot be assured that the

Board will vigorously argue to protect voters from disenfranchisement.

        The NC NAACP additionally requests that the Court accept as properly filed the

Declaration of Rev. Dr. William J. Barber II, President of the NC NAACP, attached to this

Motion as Exhibit 2.




                                       2
            Case 5:16-cv-00913-D Document 21 Filed 11/29/16 Page 2 of 5
       On November 28, 2016, counsel for NC NAACP conferred with Plaintiff’s counsel who

indicated that Plaintiff opposes this motion to intervene. Counsel for NC NAACP attempted to

confer with Defendants’ counsel, but did not receive a response. Counsel for proposed

Defendant-Intervenors the League of Women Voters of North Carolina et al. does not object to

this motion to intervene.



November 29, 2016                                Respectfully submitted,

                                                /s/ Irving Joyner
                                                Irving Joyner (Bar No. 7830)
                                                P. O. Box 374
                                                Cary, North Carolina 27512
                                                Telephone: 919-319-8353
                                                Email: ijoyner@NCCU.EDU

                                                Martha A. Geer (Bar No. 13972)
                                                COHEN MILSTEIN SELLERS &
                                                  TOLL PLLC
                                                150 Fayetteville Street
                                                STE. 980
                                                Raleigh, NC 27601
                                                Telephone: 919-890-0560
                                                Facsimile: 919-890-0567
                                                Email: mgeer@cohenmilstein.com

                                                Joseph M. Sellers
                                                Brian Corman
                                                COHEN MILSTEIN SELLERS &
                                                  TOLL PLLC
                                                1100 New York Avenue, N.W.
                                                East Tower, STE. 500
                                                Washington, DC 20005-3964
                                                Telephone: 202-408-4600
                                                Facsimile: 202-408-4699
                                                Email: jsellers@cohenmilstein.com
                                                Email: bcorman@cohenmilstein.com




                                      3
           Case 5:16-cv-00913-D Document 21 Filed 11/29/16 Page 3 of 5
                              Penda D. Hair
                              Caitlin A. Swain
                              Leah J. Kang
                              FORWARD JUSTICE
                              1401 New York Ave., NW, STE 1225
                              Washington, DC 20005
                              Telephone: (202) 256-1976
                              Email: phair@forwardjustice.org
                              Email: cswain@forwardjustice.org
                              Email: Lkang@forwardjustice.org

                              Attorneys for North Carolina State Conference
                              of the National Association for the
                              Advancement of Colored People




                           4
Case 5:16-cv-00913-D Document 21 Filed 11/29/16 Page 4 of 5
                                 CERTIFICATE OF SERVICE


         I hereby certify that on November 29, 2016, I electronically filed the Motion to Intervene

as a Defendant with the Clerk of the Court using the ECF, who in turn sent notice to the

following:

Allison J. Riggs                                Joshua Lawson
Emily E. Seawell                                General Counsel
Southern Coalition for Social Justice           North Carolina State Board of Elections
1415 W. Highway 54, Suite 101                   441 N. Harrington St.
Durham, NC 27707                                Raleigh, NC 27603
Phone: 919-323-3380                             Telephone: 919-715-9194
Facsimile: 919-323-3942                         joshua.lawson@ncsbe.gov
allison@southerncoalition.org

Karl S. Bowers, Jr.
P.O. Box 50549
Columbia, SC 29250
Telephone: 803-260-4124
butch@butchbowers.com

Joshua Brian Howard
Gammon, Howard & Zeszotarski PLLC
115 ½ West Morgan Street
Raleigh, NC 27601
Telephone: 919-521-5878
jhoward@ghz-law.com

Alexander M. Peters
James Bernier
Office of the Attorney General
P.O. Box 629
Raleigh, NC 27602
apeters@ncdoj.gov
jbernier@ncdoj.gov



Dated:     November 29, 2016                             /s/ Irving Joyner
                                                       Irving Joyner




                                        2
             Case 5:16-cv-00913-D Document 21 Filed 11/29/16 Page 5 of 5
